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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

COREY TOOLE,                                )
                                            )
                  Plaintiff,                )
                                            )
      v.                                    )
                                            )
CITY OF ATLANTA,                            ) Case No. 1:16-cv-02909-CAP
DEPUTY CHIEF RODNEY BRYANT,                 )
DEPUTY CHIEF JOSEPH SPILLANE,               )
OFFICER ZORN, OFFICER PARKER,               )
OFFICER BOSWER, OFFICER DOE,                )
individually,                               )
                                            )
                  Defendant.                )


     ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL
      This action is before the court on the Motion to Withdraw as Counsel filed

by Anissa D. Floyd. Tamara N. Baines of the City of Atlanta Law Department will

continue to represent Defendants in this matter. Accordingly, the Motion to

Withdraw as Counsel filed by Ms. Floyd is hereby GRANTED.

      IT IS SO ORDERED, this ____ day of _________________, 2016.



                               ____________________________________
                               UNITED STATES DISTRICT JUDGE
